Case 1:06-cv-00619-LTB-MJW Document 282-1 Filed 03/11/09 USDC Colorado

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

Civil Action No.: 06-cv-00619-LTB-MJW

PHILIP W. WYERS, a Colorado resident, and

WYERS PRODUCTS GROUP, INC., a Colorado corporation,
Plaintiff(s),

v.

MASTER LOCK COMPANY, a Delaware Corporation,

' Defendant(s).

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VERDICT FORM

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VERDICT FORM

Your answer to each question must be unanimous. Some of the
questions contain legal terms that are defined and explained in detail in the
Jury Instructions. Please refer to the Jury Instructions if you are unsure
about the meaning or usage of any legal term that appears in the questions |
below.

We, the jury, unanimously agree to the answers to the following
questions and return them under the instructions of this court as our verdict
in this case.

FINDINGS ON INVALIDITY

l. Has Master Lock proven by clear and convincing evidence that
the following claims of the ‘115 patent are obvious as defined in Jury
Instructions 6 through 10:

i. The invention of Claim 15 Yes % No
ii. The invention of Claim 19 Yes ww No
iii. The invention of Claim 21 Yes ~~ No
iv. The invention of Claim 24 Yes w_No
2. Has Master Lock proven by clear and convincing evidence that

the claims of the ‘426 patent are obvious as defined in Jury Instructions 6
through 10?

i. The invention of Claim 1 Yes wNo
3. Has Master Lock proven by clear and convincing evidence that
the claims of the ‘649 patent are obvious as defined in Jury Instructions 6
through 12?
1. The invention of Claim 1 Yes % No
ll. The invention of Claim 9 Yes  % No
iii. The invention of Claim 11 Yes W% No

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FINDINGS ON DAMAGES

If you answered “no” to any of the foregoing questions on invalidity
due to obviousness in the previous section, proceed to answer the following
question. If you did not so answer, do not answer the remaining questions
and proceed to check and sign the verdict form.

What amount is Wyers entitled to as a reasonable royalty?

5 §$ 350,000

